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13                                  UNITED STATES DISTRICT COURT
14                    NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
15 CALIFORNIA COALITION FOR WOMEN                               Case No.: 4:23-cv-04155
   PRISONERS; R.B.; A.H.R.; S.L.; J.L.; J.M.;
16 G.M.; A.S.; and L.T., individuals on behalf of               DECLARATION OF A
   themselves and all others similarly situated,                V            IN SUPPORT OF
17               Plaintiffs,
                                                                PLAINTIFFS’ MOTIONS FOR
                                                                PRELIMINARY INJUNCTION
18        v.                                                    AND PROVISIONAL CLASS
                                                                CERTIFICATION
19 UNITED    STATES OF AMERICA FEDERAL
   BUREAU OF PRISONS, a governmental entity;
20 BUREAU     OF PRISONS DIRECTOR COLETTE
   PETERS, in her official capacity; FCI DUBLIN
21 WARDEN      THAHESHA JUSINO, in her official
   capacity; OFFICER BELLHOUSE, in his
22 individual capacity; OFFICER GACAD, in his
   individual capacity; OFFICER JONES, in his
23 individual capacity; LIEUTENANT JONES, in
   her individual capacity; OFFICER LEWIS, in his
24 individual capacity; OFFICER NUNLEY, in his
   individual capacity, OFFICER POOL, in his
25 individual capacity, LIEUTENANT PUTNAM, in
   his individual capacity; OFFICER SERRANO, in
26 his individual capacity; OFFICER SHIRLEY, in
   his individual capacity; OFFICER SMITH, in his
27 individual capacity; and OFFICER VASQUEZ, in
   her individual capacity,
28               Defendants.
     [4256578.1]
                   DECLARATION OF A      V           IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR
                        PRELIMINARY INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
      Case 3:23-cv-04155-YGR Document 10-27 Filed 08/17/23 Page 2 of 6




 1         I, A      V          , declare:
 2         1.     I have personal knowledge of the facts set forth herein, and if called as a
 3 witness, I could and would competently so testify. I make this declaration in support
 4 Plaintiffs’ Motions for Preliminary Injunction and Provisional Class Certification.
 5         2.     I am incarcerated in federal prison and have been incarcerated at FCI Dublin
 6 from March 2009 to present. In the past I was incarcerated by the Bureau of Prisons
 7 (BOP) at FDC Honolulu. In the future BOP may transfer me to other BOP facilities but at
 8 any point I could be transferred back to FCI Dublin.
 9         3.     FCI Dublin’s inadequate systems for preventing, detecting, and responding
10 to sexual abuse have caused actual harm to myself and others incarcerated at FCI Dublin
11 and put myself and other incarcerated persons at substantial risk of imminent serious harm
12 from sexual assault, harassment, and retaliation from staff.
13         4.     During the over 15 years I have been at FCI Dublin I have witnessed
14 numerous incidents where officers sexually abused, assaulted, and harass incarcerated
15 persons. I started working in safety in March of 2017 and witnessed Officers Bellhouse
16 and Klinger harass and sexually abuse multiple incarcerated women who worked in the
17 office with me.
18         5.     Everyone who worked in the safety office knew that Officer Klinger was in a
19 longtime sexual relationship with my coworker A           R     . Beginning in 2019 I
20 frequently saw them go into his office alone. I heard them having sex in his office
21 multiple times while I was sitting at my desk just feet away. After he was caught, on his
22 last day of work in December 2019, he took A           into his office and had sex with her.
23 Officer Klinger also frequently made inappropriate sexual comments about the women
24 who worked for him in safety.
25         6.     I also witnessed abuse by Officer Bellhouse in the safety office. Everyone
26 who worked in the safety office was aware that Officer Bellhouse was in a sexual
27 relationship with my coworker A       L      R    . Officer Bellhouse also made
28 inappropriate sexual comments about women who worked in the office.
   [4256578.1]                              2
           DECLARATION OF A      V           IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR
                PRELIMINARY INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
      Case 3:23-cv-04155-YGR Document 10-27 Filed 08/17/23 Page 3 of 6




 1         7.     Staff throughout the prison knew that Officers Bellhouse and Klinger had
 2 sexual relationships with incarcerated women. The Warden at the time, Ray Garcia, saw
 3 Officer Klinger touching A         inappropriately but did nothing to address it or stop it
 4 from happening. Witnessing these incidents made me feel unsafe at FCI Dublin because it
 5 was clear that officers felt there were no consequences for their actions. Over time I
 6 developed anxiety and had trouble sleeping for months at a time.
 7         8.     I didn’t report what I saw in the safety office because I was afraid of
 8 retaliation. I saw other women report staff abuse – they were either punished by being
 9 thrown in the SHU or transferred or having their privileges revoked, or they were ignored.
10         9.     When I arrived at FCI Dublin in March 2009 I was not provided substantive
11 information about PREA or how to report staff misconduct. I vaguely remember being
12 shown a video once around 2011 about what to do if an incarcerated person abused another
13 incarcerated person.
14         10.    There is no effective way to confidentially report sexual assault and abuse by
15 staff at FCI Dublin. We can’t share anything with our loved ones on the phone or email or
16 through letters, because they are monitored by staff. They tell us that we can report to staff
17 at the prison, but I do not trust anyone who works here to appropriately deal with staff
18 misconduct. Staff share everything with each other and do not keep reports confidential.
19 The person in charge of investigating staff misconduct – Lieutenant Putnam - has worked
20 at this prison for years, while Garcia and the other officers who have been convicted were
21 openly abusing people. Putnam knew that abuse was going on for years and did not stop
22 it. I’ve also been told that we can send an email to OIG, but the computers are in public
23 spaces, and the BOP Taskforce email has been deactivated. It’s extremely hard to get legal
24 calls or visits with attorneys, and our legal mail is often delivered opened and photocopied.
25         11.    Staff at FCI Dublin prevent people from reporting sexual assault and abuse
26 by staff and retaliate against people who do report. In the spring of 2021, I reported what I
27 have experienced at FCI Dublin to the BOP Taskforce via email but did not receive a
28 formal response. They did send a mental health person to speak with me but he seemed to
   [4256578.1]                                3
           DECLARATION OF A      V           IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR
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 1 think that because I was not sexually assaulted myself that there was nothing to talk about
 2 and did not seem to listen to what I told him about how witnessing so much abuse was
 3 affecting me. I previously reported the abuse I witnessed by Officer Klinger to Officer
 4 Bellhouse only to then witness Officer Bellhouse abuse others.
 5         12.    FCI Dublin staff have continued to retaliate against me and others who report
 6 sexual abuse and assault by staff. After Officers Klinger and Bellhouse were arrested
 7 everybody who worked in safety was targeted for retaliation. Officer Saucedo started to
 8 read my emails to my family and quote them back to me verbatim. Other staff made
 9 comments implying I and others were having sexual relationships with our bosses. Staff
10 scream at us, search our cells, and bang on our doors to humiliate us and cause us anxiety.
11 During the Martin Luther King weekend in January 2023, I saw Lieutenant Jones force a
12 group of kitchen workers to stand outside in the rain, some of them barefoot, while she
13 screamed at them.
14         13.    When incarcerated persons report sexual assault and abuse by staff, FCI
15 Dublin and BOP do not seriously investigate the reports. Investigations are frequently
16 delayed and overseen by staff who know and work with the offending staff member.
17 Generally nothing happens as a result. Each time I reported incidents no actions were
18 taken in response. The only time SIS tried to speak with me was in 2020 when SIS Officer
19 Putnum pulled me into his office saying he had received information about misconduct
20 involving someone named A         but was not sure if that was about me. I told him I did not
21 know about any relationships with officers. After I left his office Officers Saucedo and
22 Ramos were watching me and came over and asked me what I told Putnum. I told them
23 that Office Putnum told me not to tell anyone, but they fact they were watching me made
24 me feel afraid that I would be retaliated against and become a target for potential abuse.
25         14.    There is no adequate, confidential mental health care available to survivors
26 of sexual abuse and assault at FCI Dublin. The mental healthcare unit at the facility is
27 dangerously understaffed and only allows us to speak with BOP employed staff, many of
28 which are friendly with the correctional staff. The only psychiatrist currently at the facility
   [4256578.1]                                    4
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 1 is married to one of the correctional officers, Unit Manager Craig. There has been a huge
 2 amount of turnover and medical and mental health staff are constantly leaving the facility
 3 for other positions. In general, I feel uncomfortable being open with FCI Dublin mental
 4 health staff because they are employed by the same agency that employers the abusive
 5 officers. I’ve heard that some people have been able to get appointments to see Tri Valley
 6 Haven, but can only get five thirty-minute sessions, and the sessions are not with the same
 7 person and are not with licensed clinicians.
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    [4256578.1]                                     5
                  DECLARATION OF A      V           IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR
                       PRELIMINARY INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
Case 3:23-cv-04155-YGR Document 10-27 Filed 08/17/23 Page 6 of 6
